           IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  No. 1:14-cv-00954-LCB-JLW

STUDENTS FOR FAIR                       )
ADMISSIONS, INC.,                       )
                                        )
           Plaintiff,                   )
                                        )
v.                                      )
                                        )
THE UNIVERSITY OF NORTH                 )
CAROLINA AT CHAPEL HILL, et al.         )
                                        )
           Defendants.                  )


   MOTION FOR LEAVE TO FILE A BRIEF AS AMICI CURIAE IN
SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
   BY ARCELORMITTAL USA LLC, ARIEL INVESTMENTS LLC,
CAPITOL BROADCASTING COMPANY, INC., CISCO SYSTEMS, INC.,
CUMMINS INC., DUKE UNIVERSITY HEALTH SYSTEM, INC., EBAY
   INC., ELI LILLY AND COMPANY, ENTERGY CORPORATION,
 ERNST & YOUNG, GENERAL MOTORS LLC, GLAXOSMITHKLINE
  LLC, THE HERSHEY COMPANY, HP INC., IBM CORPORATION,
 IKEA RETAIL US LLC, KPMG LLP, MICROSOFT CORPORATION,
 NATIONAL ASSOCIATION FOR STOCK CAR AUTO RACING, INC.,
  PAYPAL HOLDINGS, INC., PEPSICO, INC., RED HAT, INC., THE
  REDWOODS GROUP, INC., REPLACEMENTS, LTD., RESEARCH
TRIANGLE INSTITUTE, TAKEDA PHARMACEUTICALS U.S.A., INC.,
        UNITED AIRLINES, INC., AND YUM! BRANDS, INC.




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      Pursuant to LR 7.5, ArcelorMittal USA LLC, Ariel Investments LLC,

Capitol Broadcasting Company, Inc., Cisco Systems, Inc., Cummins Inc.,

Duke University Health System, Inc., eBay Inc., Eli Lilly and Company,

Entergy Corporation, Ernst & Young, General Motors LLC, GlaxoSmithKline

LLC, The Hershey Company, HP Inc., IBM Corporation, IKEA US RETAIL

LLC, KPMG LLP, Microsoft Corporation, National Association for Stock Car

Auto Racing, Inc., PayPal Holdings, Inc., PepsiCo, Inc., Red Hat, Inc., The

Redwoods Group, Inc., Replacements, Ltd., Research Triangle Institute,

Takeda Pharmaceuticals U.S.A., Inc., United Airlines, Inc., and Yum!

Brands, Inc. respectfully move for leave of Court to file a brief as amici curiae

in support of Defendants’ motion for summary judgment.

      Amici are prominent companies and non-profit organizations who do

business in North Carolina and who recruit graduates of The University of

North Carolina at Chapel Hill (UNC) or similar leading institutions of higher

education. Amici have a substantial interest in this case.

      In particular, amici believe that racial and ethnic diversity are

indispensable to amici’s industries. These points echo those made in amicus

briefs filed by similar businesses in the seminal U.S. Supreme Court cases on

diversity in higher education. The Supreme Court has expressly cited and

relied on these points. Grutter v. Bollinger, 539 U.S. 306, 330 (2003)

(“[M]ajor American businesses have made clear that the skills needed in


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today’s increasingly global marketplace can only be developed through

exposure to widely diverse people, cultures, ideas, and viewpoints.”)

      Amici therefore respectfully request leave to file a brief in support of

Defendants’ motion for summary judgment to emphasize the essential role

that diversity plays in the vitality of their organizations and to ensure that

colleges and universities retain flexibility to achieve diversity across multiple

dimensions. Pursuant to LR 7.5(b), amici have conditionally filed the brief

with this motion and are submitting a proposed order with the motion.

      This the 18th day of January, 2019.

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